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                 EXHIBIT 2
UNREDACTED VERSION
   OF DOCUMENT
SOUGHT TO BE SEALED
              Case 3:17-cv-00939-WHA Document 2690-9 Filed 01/28/19 Page 2 of 31



                                                      Ottomottu Ll. C



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              tGrnpany (''Otto·mntto''), hereby ccrdfj,: •and declare to Otto.rnotto that to rny kno\vkdge J
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               Case 3:17-cv-00939-WHA Document 2690-9 Filed 01/28/19 Page 3 of 31



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                                                       RELEASE AG

                      nus RELEASE AGREEMENT (this "Agtteme t''), dated as of May 6, 2016, is made by and
               between Ottomotto LLC, a Delaware limited habllity com ny (the "Company") and the unoersigned.

                                                          WITNESSJTH:
                      WHEREAS, pursuant to that certain Asset Pure se Agreement (the "APA''), dated as of May 5,
               2016, by and among the Company and Tyto LIDAR, LLC a California limited liability company (''fyto''),
                      to
               subJeCt the terms and conditions set forth in the APA,   thef
                                                                      ompany will acquire certain assets of 'fyto.

                       WHEREAS, in connection with the APA, the und rs1gned will receive an offer of employment or
               consultancy with the Company and a bonus payment from  Company; and

                      'WHEREAS, in order to induce the Company to co plete the traosactJ.ons contemplated by the APA,
               lhe undersigned is willing to enter into this Agreement.

                      NOW, THEREFORE, intending to be legally bound m consideration of the foregoing and the mutual
               covenants and agreements herein contained, the parties here hereby agree as follows:

                        1.    Acknowledgment of Consjderation. The un ers1gned hereby acknowledges and agrees that it
               js entering mto this Agreement m consideration of (a) th bonus payment payable to the undersigned in
               connection with the APA and the undersigned's employmt or consultancy with the Company and (b) an
               offer of employment or consultancy from the Company.

                       2.       c;onfl,Jentiality. Other than as required by aw, the undersigned agrees to at all times keep
               confidential and not divulge, fwnish or make accessibl any information regarding or relating to this
               Agreement or the APA (or any of the transactions contemp ated hereby or thereby), or any claim or dispute
               arising out of or related to this Agreement, the APA or th~ansactions contemplated hereby or thereby to
               anyone other than agents, investors, attorneys, accountan and financial advisors of the undersigned who
               need to know such information and are (a) bound by con dentiality restrictions or (b) made aware of the
               confidential nature of such information, directed by the un      gned to treat such information as confidential
               and bound by legally enforceable codes of professional resp nsibility or agreements that require maintenance
               of confidentiality.

                        3.      General Release. Effective for all purposes s of the dosing of the APA (the "Closing"), the
               undersigned acknowledges and agrees, on behalf of himsel or herself and each of the undersigned's agents,
               trustees, beneficiaries, estate, sncces.sors and assigns (each, a "Releasor") that:

                                            (a) Releaser represents and wa      ants that, as of the date hereof, other than as set
                           forth in the proviso in Section 3(b), he or she (t   gether with each other Releaser) bas no Oaims
                           (as defined below) against Tyto, the Company,        Otto Trucking LLC, or any of their respective
                           employees, managers, directnr.., members               stockholders, officers, agents, attorneys,
                           representatives, predecessors, successors, as ·          or the like (collectively, the "Releasees")
                           relating to any contract or other matter betw        the Releasor and Tyto, or any of the Releasor's
                           interest in Tyto, or in the Releasor's capacity      as a cum:'Ilt or former employee, manager or
                           security holder of Tyto.

                                        (b) Releasor hereby irrevocably and unconcb.ttonally releases the Releasees from
                           any and all charges, complaints, claims, ·abilities, obligations. promises, agreements,




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                           controversies, damages or causes of action, ul.ts, rights, demands, costs, losses, debts and
                           expenses (including attorneys' fees and costs in urred) of any nature whatsoever, in law or equity,
                                                                             1
                           whether known or unknown, contingent or othef1se, which the Releasor now has, may ever have
                           had in the past or may have in the future agains any of the respective Releasees by reason of any
                           act, ormssion, transaction, occurrence, conduct circumstance, condttion, harm, matter, cause or
                           thing that has occUITed or existed at any ume f m the beginning of time up to and including the
                           Closing, including, without limitation, relati' to any contraa or other matter between the
                           Relea. sor and Tyto, Releasor's employment (ei er as an employee or consultant, as applicable)
                           with Tyto or the Releasor 's interest in the uity or assets of Tyto (collectively, ''Claims"),
                           provided, however, that the foregoing re,leas shall not cover Claims arising from rights of
                           Releasor pursuant to (i) the APA or any othe~ agreement delivered pursuant to the APA or in
                           connection with the transactions contemplated ihereby and/or (ii) any bonus mcentive agreement
                           between Releasor and Tyto.

                                           (a) Releasor acknowledges th the or she is famillar with Section 1542 of the
                           Civtl Code of the State of California ("Section 542"), which provides as follows:

                            A GENERAL RELEASE DOES NOT E     ND TO CLAIMS WHlCH TIIE CREDITOR
                       DOES NOT KNOW OR SUSPECT TO EXIST IN HIS OR HER FAVOR AT THE TIME OF
                       EXECUTING Tiffi RELEASE, WlllCH IF    OWN BY Hllv:I OR HER MUST HAVE
                       MATERIALLY AFFECTED HIS OR HER SETTL MENT WITH THE DEBTOR.

                                              (b) Except for Qauns not rel ased pursuant to Section 3(b), Releaser hereby
                           waives and relinquishes any rights and benefi that Releasor may have under Section 1542 or
                           any similar statute or common law principle of y jur1sd1cti.on. Releaser acknowledges that he or
                           she may hereafter discover facts in addition to different from those that Releaser now knows or
                           believes to be true with respect to the subject tter of this release, but it is Releasor's intention,
                           subject to Section 3(a) and Section 3{b), to full and finally and forever settle and release any and
                           all Claims that do now exist, may exist or he etofore have existed with respect to the subject
                           matlf!l" of tins release. In furtherance of this int noon, except for Claims not released pursuant to
                           Section 3(b), the releases contained herein s          be and remain lil effect as full and complete
                           general releases notwidistandmg the disaivery or existence of any such additional or different
                           facts.

                       4.       Termination. To the extent this Agreement exeruted pnor to the Oosmg of the APA, tins
               Agreement is conditioned upon the Closing of the APA d shall bernme null and void and shall have no
               effect whatsoever, without any action on the part of any p n or eonty, upon termination of 1he APA for any
               reason prior to the Qosing.

                        5.      Miscellaneous. This Agreement may be           uted in one or more counterparu, each of which
               will be deemed an original and all of which, when                  together, will consntnte one and the same
               Agreement. The internal laws of the State of California,          pective of its conflicts of law principles, shall
               govern the validity of this Agreement, the construction of · terms and the interpretation and enforcement of
               the rights and duties of the parties hereto. If any provisio:b. of this Agreement is detenmned to be invalid,
               unlawful, void or unenforceable to any extent, such provisio or any portion thereof will be interpreted to best
               reflect the parties' intent, and the remainder of this Agree nt will not be affected and will continue to be·
               valid and enforceable to the fullest extent permitted by law. This Agreement may only be amended, modified
               and supplemented by written agreement of the parties h            . This Agreement shall be binding upon and
               inure to the benefit of the parties hereto illld their respecti e successors, heirs, personal represematives and
               assigns to the extent permitted under the Agreement




CONFIDENTIAL                                                                                                                         UBER00319643
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                                    [Signature   follows]




CONFIDENTIAL                                                              UBER00319644
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              1N WITNESS WHEREOF, the parties hereto have caused this Release Agreement to be duly
       executed as of the day and year first set forth above.



                                                          Ottomotto LLC
                                                                                 ---✓-
                                                                  -c.<;:,:·:::l:;c-----~--·--·· ·--······. .
                                                          By :-~--.?-- - -- - - - - ' - - - - - - - ~
                                                              Narne: Lior Rl)n
                                                              Title: President




CONFIDENTIAL                                                                                                   UBER00319645
          Case 3:17-cv-00939-WHA Document 2690-9 Filed 01/28/19 Page 8 of 31




                        lN WITNESS WHEREOF, the parties hereto have c used this Release Agreement to be duly executed
               as of the day and year first set folth above.




               By:_,_..;.;.:;......:..:....:....:_;=i:....;;.""""-.L...:..--   - - --   -   - + -- - - - - - -- - - - --
               Name:




CONFIDENTIAL                                                                                                               UBER00319646
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                                                RELEASE AGREEMENT

              THIS RELEASE AGREEMENT (this "Agreement"), dated as of May 6, 2016, is made by and
       between Ottomotto LLC, a Delaware limited liability company (the "Company") and the undersigned.

                                                   WI TN E S S E TH:

                WHEREAS, pursuant to that certain Asset Purchase Agreement (the "APA"), dated as of May 5,
       2016, by and among the Company and Tyto LiDAR, LLC, a California limited liability company ("Tyto"),
       subject to the terms and conditions set forth in the APA, the Company will acquire certain assets ofTyto.

               WHEREAS, in connection with the APA, the undersigned will receive an offer of employment or
       consultancy with the Company and a bonus payment from the Company; and

               WHEREAS, in order to induce the Company to complete the transactions contemplated by the APA,
       the undersigned is willing to enter into this Agreement.

              NOW, THEREFORE, intending to be legally bound, in consideration of the foregoing and the mutual
       covenants and agreements herein contained, the parties hereto hereby agree as follows:

                1.     Acknowledgment of Consideration. The undersigned hereby acknowledges and agrees that it
       is entering into this Agreement in consideration of (a) the bonus payment payable to the undersigned in
       connection with the APA and the undersigned's employment or consultancy with the Company and (b) an
       offer of employment or consultancy from the Company.

               2.        Confidentiality. Other than as required by law, the undersigned agrees to at all times keep
       confidential and not divulge, furnish or make accessible any information regarding or relating to this
       Agreement or the APA (or any of the transactions contemplated hereby or thereby), or any claim or dispute
       arising out of or related to this Agreement, the APA or the transactions contemplated hereby or thereby to
       anyone other than agents, investors, attorneys, accountants and financial advisors of the undersigned who
       need to know such information and are (a) bound by confidentiality restrictions or (b) made aware of the
       confidential nature of such information, directed by the undersigned to treat such information as confidential
       and bound by legally enforceable codes of professional responsibility or agreements that require maintenance
       of confidentiality.

                3.      General Release. Effective for all purposes as of the closing of the APA (the "Closing"), the
       undersigned acknowledges and agrees, on behalf of himself or herself and each of the undersigned's agents,
       trustees, beneficiaries, estate, successors and assigns (each, a "Releasor") that:

                                    (a) Releasor represents and warrants that, as of the date hereof, other than as set
                   forth in the proviso in Section 3(b), he or she (together with each other Releasor) has no Claims
                   (as defined below) against Tyto, the Company, Otto Trucking LLC, or any of their respective
                   employees, managers, directors, members, stockholders, officers, agents, attorneys,
                   representatives, predecessors, successors, assigns or the like (collectively, the "Releasees")
                   relating to any contract or other matter between the Releasor and Tyto, or any of the Releasor's
                   interest in Tyto, or in the Releasor's capacity as a current or former employee, manager or
                   security holder of Tyto.

                                (b) Releasor hereby irrevocably and unconditionally releases the Releasees from
                   any and all charges, complaints, claims, liabilities, obligations, promises, agreements,




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                   controversies, damages or causes of action, suits, rights, demands, costs, losses, debts and
                   expenses (including attorneys' fees and costs incurred) of any nature whatsoever, in law or equity,
                   whether known or unknown, contingent or otherwise, which the Releasor now has, may ever have
                   had in the past or may have in the future against any of the respective Releasees by reason of any
                   act, omission, transaction, occurrence, conduct, circumstance, condition, harm, matter, cause or
                   thing that has occurred or existed at any time from the beginning of time up to and including the
                   Closing, including, without limitation, relating to any contract or other matter between the
                   Releasor and Tyto, Releasor's employment (either as an employee or consultant, as applicable)
                   with Tyto or the Releasor's interest in the equity or assets of Tyto (collectively, "Claims"),
                   provided, however, that the foregoing release shall not cover Claims arising from rights of
                   Releasor pursuant to (i) the APA or any other agreement delivered pursuant to the APA or in
                   connection with the transactions contemplated thereby and/or (ii) any bonus incentive agreement
                   between Releasor and Tyto.

                                   (a) Releasor acknowledges that he or she is familiar with Section 1542 of the
                   Civil Code of the State of California ("Section 1542"), which provides as follows:

                    A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH THE CREDITOR
               DOES NOT KNOW OR SUSPECT TO EXIST IN HIS OR HER FAVOR AT THE TIME OF
               EXECUTING THE RELEASE, WHICH IF KNOWN BY HIM OR HER MUST HAVE
               MATERIALLY AFFECTED HIS OR HER SETTLEMENT WITH THE DEBTOR.

                                    (b) Except for Claims not released pursuant to Section 3(b), Releasor hereby
                   waives and relinquishes any rights and benefits that Releasor may have under Section 1542 or
                   any similar statute or common law principle of any jurisdiction. Releasor acknowledges that he or
                   she may hereafter discover facts in addition to or different from those that Releasor now knows or
                   believes to be true with respect to the subject matter of this release, but it is Releasor's intention,
                   subject to Section 3(a) and Section 3(b), to fully and finally and forever settle and release any and
                   all Claims that do now exist, may exist or heretofore have existed with respect to the subject
                   matter of this release. In furtherance of this intention, except for Claims not released pursuant to
                   Section 3(b), the releases contained herein shall be and remain in effect as full and complete
                   general releases notwithstanding the discovery or existence of any such additional or different
                   facts.

               4.       Termination. To the extent this Agreement is executed prior to the Closing of the APA, this
       Agreement is conditioned upon the Closing of the APA and shall become null and void and shall have no
       effect whatsoever, without any action on the part of any person or entity, upon termination of the APA for any
       reason prior to the Closing.

                5.      Miscellaneous. This Agreement may be executed in one or more counterparts, each of which
       will be deemed an original and all of which, when taken together, will constitute one and the same
       Agreement. The internal laws of the State of California, irrespective of its conflicts of law principles, shall
       govern the validity of this Agreement, the construction of its terms and the interpretation and enforcement of
       the rights and duties of the parties hereto. If any provision of this Agreement is determined to be invalid,
       unlawful, void or unenforceable to any extent, such provision or any portion thereof will be interpreted to best
       reflect the parties' intent, and the remainder of this Agreement will not be affected and will continue to be
       valid and enforceable to the fullest extent permitted by law. This Agreement may only be amended, modified
       and supplemented by written agreement of the parties hereto. This Agreement shall be binding upon and
       inure to the benefit of the parties hereto and their respective successors, heirs, personal representatives and
       assigns to the extent permitted under the Agreement.




CONFIDENTIAL                                                                                                  UBER00319648
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                                       [Signature page follows]




CONFIDENTIAL                                                               UBER00319649
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              1N WITNESS WHEREOF, the parties hereto have caused this Release Agreement to be duly
       executed as of the day and year first set forth above.



                                                          Ottomotto LLC
                                                                                 ---✓-
                                                                  -c.<;:,:·:::l:;c-----~--·--·· ·--······. .
                                                          By :-~--.?-- - -- - - - - ' - - - - - - - ~
                                                              Narne: Lior Rl)n
                                                              Title: President




CONFIDENTIAL                                                                                                   UBER00319650
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                IN WITNESS WHEREOF, the parties hereto have caused this Release Agreement to be duly executed
       as of the day and year first set forth above.




       By
       Name: James Haslim
                             F-~




CONFIDENTIAL                                                                                      UBER00319651
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                                                  RELEASE AGREEMENT

               THIS RELEASE AGREEMENT (this ·'Agreement"), dated as of J'vtay 6, 2016, is made by and
        between Ottomotto LLC, a Delaware limited liability company (the '·Company") and the undersigned.

                                                    W l T N E S S E T H:

                 \VHEREAS, pursuant to that certain Asset Purchase A.greement (the ''APA"), dated as of May 5,
        2016, by and among the Coinpany and Tyto LiDAR, LLC. a California limited liability company ("Tyto''),
        subject to the terms and condith)nS set forth in the APA, the C()mpany will acquire certain assets of Tyto.

                WHEREAS, in connection with the APA, the undersigned wi!! receive an offer of employment or
        consultancy with the Company and a bonus payment from the Company; and

                WHEREAS, in order to induce the Company to cQmpkte the transactions contempl11ted by the APA,
        the undersigned is ,v illing to enter into this Agreement.

              NOW. Tl::lEREFOR.E. intending to be Jegally bound, in cons1deratio11 of the foregoing ,rnd the mutual
        cownants and agreements herein contained, the parties hereto hereby agree as follows:

                1.   Acknowledgment of Consideration. The ur1dersigned hereby acknowledges and agrees that it is
        entering into this Agreement in consideration of (a) the bonus payrnent payable to the undersigned in
        connection with the APA and the undersigned's employment or consultancy with the Company a11d (b) an
        offer ofemployment o.r consultancy from the Company .

                 2, Confidentiality. Other than as required by law, the undersigned agrees to at all t imes keep
        confidential and not divulge, furnish or make accessible any information regarding or relating to this
        Agreement or the APA (or any of the transactions contern plated hereby or thereby), or any claim or dispuie
        arising out of or related to this Agreement, the APA or the transactions contemplated hereby or thereby to
        anyone other than agents, investors, attorneys, ai:countams and financial advisors of the undersigned who
        need to know such information and are (a} bound by confidentiality restrictions or (b) made aware of the
        confidential nature of such information, directed by the undersigned to treat such information as confidential
        and bound by legally enfixceable codes of profossional responsibilhy or agreements that require maintenance
        of confidentiality.

                 3. General Release. Effective for all purposes as of the closing of the APA (the "Closing"), the
        undersigned acknowledges and agrees, on behalf of himself or Jwrsdf and each of the undersigned's agents,
        trustees, beneficiaries, estate, successors and assigns (each, a ''Rekasor'') that:

                         (a)      ReJeasor represents and warrants that, as of the date hereof, he or she (together with
        each other Releasor) has no Claims (as defim~d below") against Tyto, the Company, Otto Trucking LLC, or
        any of their res pective ernp.loyees, managers, directors, members, stockholders, officers, agents, attorneys,
        representatives, predecessors, soccess()rs, assigns or the like (collectively, the ''Releasces") relating to any
        contract or other matter between the Releasor and Tyto, or any of the Releasot's interest in Tyto, or in the
        Releasor' s capacity as a current or fom1er einployec, manager or security holder of Tyto.

                        (b)      Rdeasor hereby irrevocably and unconditionally releases the Releasees frQm any and
        all charges. complaints. claims. liabilities, obligatior1s, promises, agreements; controversies, damages or
        causes of actioi1, suits, rights, demands. costs, losses, debls and expenses (including attorneys' fees and costs
        incurred) of any nature whatsoever, in law or equity, whether knov..-n or unknown, contingent or otherwise,




CONFIDENTIAL
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        which the Rdeasor now has, 111ay ever have had in the past or may have in the future against any of the
        respective Releasees by reason of any act, omission, transaction, occurrence, conduct, circumstance,
        condition, harm, matte!'; cause or thing that has <)ccurrect or existed at any time from the begimiing of time up
        to and including the Closing. including, without !imitation, relating to any contract or ()ther matter between
        tl)e Releasor and Tyto, Rekasor's employment (either as. an employee or consultant, as applicable) with Tyto
        or the Re!easor's interest in the equity or assets of Tyto (collectively, "Claitns''), provided, however, that the
        foregoing release shall not cover Claims arising from rights of Releasor pursuant to the APA or any other
        agreerhent ddiveted pursuant to the APA or in wnnection with the transactions contemplated thereby.

                         (c)      Releasoracknowledges that he or ~he is familiar with Section 1542 of the Civil Code
        of the State of Califoniia f'Section 1542"}, which provides as folJows:

                A OENFRAL RELEASE DOES NOT EXTEND TO CLAIMS WJ-UCH THE CREDlTOR DOES
                NOT KNOW OR SUSPECT TO EXlST IN HIS OR HER FAVOR AT TUE TIME OF
                EXECUTING THE RELEASE, \VHlCH IP KNOWN BY HilVI OR HER MUST HAVE
                M.ATERIALLY AFFECTED HIS OR HER SETTLEMENT WITH THE DEBTOR.

                         (d)       Except for Claims not released pursuant to Section J(b), Releasor hereby waives and
        relinquishes any rights and benefits that Rekasor may have under Section l 542 or any similar statute or
        common law principle of any jurisdktion. Rekasor acknowledges th1t he or she may hereafter discover facts
        in addition to or diHerent fi·om those that Releasor 11()\V knows or believes to be trt1e with resp~ct to the
        subject matter of this release, but it is Releasor's intention, subject to Section 3(a) and Section 3(b), to fully
        and finally and forever settle and release any and all Claims that do now exist, may exist or heretofore have
        existed with i·espect to the subject matter of this release. ln furtherance of this intention, except for Claims not
        released pursuant to Section 3{b), the releases contained herein shall be and remain in eftect as foll and
        complete general releases notwithstanding the discovery or existence of any such additional or di.tTerent facts,

                4. Termination. To the extent this Agreement is executed prior to the Closing of the APA, this
        Agreement is conditioned upon the Closing of the, APA and shalt become null and void and shall have no
        effect whatsoever. \Vitht)ut any action on the part of any person or entity, upon termination of the APA for any
        reason prior to the Closing.

                 5. Miscellaneous. This Agreement may be executed in one or inore counterparts, each of which will
        be deemed an original and all of whkh, \vhen taken together, \Vi11 constitute one and the same Agreeml;lnt.
        The ir1ternal laws of the State of Califotnia, irrespective of its conilicts of law principles, shall govern the
        validity of this Agreeml;lnt, the construction of its terms and the interpretation and enforcement of the rights
        and duties of the parties hereto. If any provision of this Agreement is detetmined to be invalid, unlawful, void
        or unenforceable to any extent, such provision or any portion thereof will be interpreted to best reflect rhe
        parties' intent. and the remainder of this Agreement will not he affected and will continue to be valid and
        enforceable to the fullest extent permitted by law. This Agreement may only be amended, modified and
        supplemeiited by written agreement of the parties hereto. This Agreement shall be binding upon ai1d inure to
        the benefit of the parties hereto and their respective successors, heirs, personal representatives and assigns to
        the extent permitted under the Agreement.

                                                     [Signature page fi.)llowsl




CONFIDENTIAL
                                                                                                              UBER00319653
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              1N WITNESS WHEREOF, the parties hereto have caused this Release Agreement to be duly
       executed as of the day and year first set forth above.



                                                          Ottomotto LLC
                                                                                 ---✓-
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                                                          By :-~--.?-- - -- - - - - ' - - - - - - - ~
                                                              Narne: Lior Rl)n
                                                              Title: President




CONFIDENTIAL                                                                                                   UBER00319654
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             lN WITNESS WHEREOF, the parties hereto have caused this Release Af,>Teement to he duly
      executed as of the day and year first set fo11h above.




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CONFIDENTIAL                                                                                                    UBER00319655
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                                                 RELEASE AGREEMENT

              THIS RELEASE AGREEMENT (this "Agreement"), dated as of May 9, 2016, is made by and
       between Ottomotto LLC, a Delaware limited liability company (the "Company") and the undersigned.

                                                   WI T N E S S E T H:

                WHEREAS, pursuant to that certain Asset Purchase Agreement (the "APA"), dated as of May 5,
       2016, by and among the Company and Tyto LiDAR, LLC, a California limited liability company ("Tyto"),
       subject to the terms and conditions set forth in the APA, the Company will acquire certain assets ofTyto.

               WHEREAS, in connection with the AP A, the undersigned will receive an offer of employment or
       consultancy with the Company and a bonus payment from the Company; and

               WHEREAS, in order to induce the Company to complete the transactions contemplated by the AP A,
       the undersigned is willing to enter into this Agreement.

              NOW, THEREFORE, intending to be legally bound, in consideration of the foregoing and the mutual
       covenants and agreements herein contained, the parties hereto hereby agree as follows:

                1. Acknowledgment of Consideration. The undersigned hereby acknowledges and agrees that it is
       entering into this Agreement in consideration of (a) the bonus payment payable to the undersigned in
       connection with the APA and the undersigned's employment or consultancy with the Company and (b) an
       offer of employment or consultancy from the Company.

               2. Confidentiality. Other than as required by law, the undersigned agrees to at all times keep
       confidential and not divulge, furnish or make accessible any information regarding or relating to this
       Agreement or the AP A (or any of the transactions contemplated hereby or thereby), or any claim or dispute
       arising out of or related to this Agreement, the AP A or the transactions contemplated hereby or thereby to
       anyone other than agents, investors, attorneys, accountants and financial advisors of the undersigned who
       need to know such information and are (a) bound by confidentiality restrictions or (b) made aware of the
       confidential nature of such information, directed by the undersigned to treat such information as confidential
       and bound by legally enforceable codes of professional responsibility or agreements that require maintenance
       of confidentiality.

                3. General Release. Effective for all purposes as of the closing of the AP A (the "Closing"), the
       undersigned acknowledges and agrees, on behalf of himself or herself and each of the undersigned's agents,
       trustees, beneficiaries, estate, successors and assigns (each, a "Releasor") that:

                         (a)     Releasor represents and warrants that, as of the date hereof, other than as set forth in
       the proviso in Section 3(b ), he or she (together with each other Releasor) has no Claims (as defined below)
       against Tyto, the Company, Otto Trucking LLC, or any of their respective employees, managers, directors,
       members, stockholders, officers, agents, attorneys, representatives, predecessors, successors, assigns or the
       like (collectively, the "Releasees") relating to any contract or other matter between the Releasor and Tyto, or
       any of the Releasor' s interest in Tyto, or in the Releasor' s capacity as a current or former employee, manager
       or security holder ofTyto.

                        (b)      Releasor hereby irrevocably and unconditionally releases the Releasees from any and
       all charges, complaints, claims, liabilities, obligations, promises, agreements, controversies, damages or
       causes of action, suits, rights, demands, costs, losses, debts and expenses (including attorneys' fees and costs




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       incurred) of any nature whatsoever, in law or equity, whether known or unknown, contingent or otherwise,
       which the Releasor now has, may ever have had in the past or may have in the future against any of the
       respective Releasees by reason of any act, omission, transaction, occurrence, conduct, circumstance,
       condition, harm, matter, cause or thing that has occurred or existed at any time from the beginning of time up
       to and including the Closing, including, without limitation, relating to any contract or other matter between
       the Releasor and Tyto, Releasor's employment (either as an employee or consultant, as applicable) with Tyto
       or the Releasor's interest in the equity or assets of Tyto (collectively, "Claims"), provided, however, that the
       foregoing release shall not cover Claims arising from rights of Releasor pursuant to the AP A or any other
       agreement delivered pursuant to the AP A or in connection with the transactions contemplated thereby.

                        (c)      Releasor acknowledges that he or she is familiar with Section 1542 of the Civil Code
       of the State of California ("Section 1542"), which provides as follows:

               A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH THE CREDITOR DOES
               NOT KNOW OR SUSPECT TO EXIST IN HIS OR HER FAVOR AT THE TIME OF
               EXECUTING THE RELEASE, WHICH IF KNOWN BY HIM OR HER MUST HAVE
               MATERIALLY AFFECTED HIS OR HER SETTLEMENT WITH THE DEBTOR.

                        (d)      Except for Claims not released pursuant to Section 3(b ), Releasor hereby waives and
       relinquishes any rights and benefits that Releasor may have under Section 1542 or any similar statute or
       common law principle of any jurisdiction. Releasor acknowledges that he or she may hereafter discover facts
       in addition to or different from those that Releasor now knows or believes to be true with respect to the
       subject matter of this release, but it is Releasor's intention, subject to Section 3(a) and Section 3(b ), to fully
       and finally and forever settle and release any and all Claims that do now exist, may exist or heretofore have
       existed with respect to the subject matter of this release. In furtherance of this intention, except for Claims not
       released pursuant to Section 3(b ), the releases contained herein shall be and remain in effect as full and
       complete general releases notwithstanding the discovery or existence of any such additional or different facts.

               4. Termination. To the extent this Agreement is executed prior to the Closing of the AP A, this
       Agreement is conditioned upon the Closing of the AP A and shall become null and void and shall have no
       effect whatsoever, without any action on the part of any person or entity, upon termination of the AP A for any
       reason prior to the Closing.

                5. Miscellaneous. This Agreement may be executed in one or more counterparts, each of which will
       be deemed an original and all of which, when taken together, will constitute one and the same Agreement.
       The internal laws of the State of California, irrespective of its conflicts of law principles, shall govern the
       validity of this Agreement, the construction of its terms and the interpretation and enforcement of the rights
       and duties of the parties hereto. If any provision of this Agreement is determined to be invalid, unlawful, void
       or unenforceable to any extent, such provision or any portion thereof will be interpreted to best reflect the
       parties' intent, and the remainder of this Agreement will not be affected and will continue to be valid and
       enforceable to the fullest extent permitted by law. This Agreement may only be amended, modified and
       supplemented by written agreement of the parties hereto. This Agreement shall be binding upon and inure to
       the benefit of the parties hereto and their respective successors, heirs, personal representatives and assigns to
       the extent permitted under the Agreement.

                                                   [Signature page follows]




CONFIDENTIAL                                                                                                  UBER00319657
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              1N WITNESS WHEREOF, the parties hereto have caused this Release Agreement to be duly
       executed as of the day and year first set forth above.



                                                          Ottomotto LLC
                                                                                 ---✓-
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                                                          By :-~--.?-- - -- - - - - ' - - - - - - - ~
                                                              Narne: Lior Rl)n
                                                              Title: President




CONFIDENTIAL                                                                                                   UBER00319658
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              IN WITNESS WHEREOF, the parties hereto have caused this Release Agreement lo be dldy
       exe~ukd as of the day and year first set forth above.




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                                                 RELEASE AGREEMENT

              THIS RELEASE AGREEMENT (this "Agreement"), dated as of May 9, 2016, is made by and
       between Ottomotto LLC, a Delaware limited liability company (the "Company") and the undersigned.

                                                   WI T N E S S E T H:

                WHEREAS, pursuant to that certain Asset Purchase Agreement (the "APA"), dated as of May 5,
       2016, by and among the Company and Tyto LiDAR, LLC, a California limited liability company ("Tyto"),
       subject to the terms and conditions set forth in the APA, the Company will acquire certain assets ofTyto.

               WHEREAS, in connection with the AP A, the undersigned will receive an offer of employment or
       consultancy with the Company and a bonus payment from the Company; and

               WHEREAS, in order to induce the Company to complete the transactions contemplated by the AP A,
       the undersigned is willing to enter into this Agreement.

              NOW, THEREFORE, intending to be legally bound, in consideration of the foregoing and the mutual
       covenants and agreements herein contained, the parties hereto hereby agree as follows:

                1. Acknowledgment of Consideration. The undersigned hereby acknowledges and agrees that it is
       entering into this Agreement in consideration of (a) the bonus payment payable to the undersigned in
       connection with the APA and the undersigned's employment or consultancy with the Company and (b) an
       offer of employment or consultancy from the Company.

               2. Confidentiality. Other than as required by law, the undersigned agrees to at all times keep
       confidential and not divulge, furnish or make accessible any information regarding or relating to this
       Agreement or the AP A (or any of the transactions contemplated hereby or thereby), or any claim or dispute
       arising out of or related to this Agreement, the AP A or the transactions contemplated hereby or thereby to
       anyone other than agents, investors, attorneys, accountants and financial advisors of the undersigned who
       need to know such information and are (a) bound by confidentiality restrictions or (b) made aware of the
       confidential nature of such information, directed by the undersigned to treat such information as confidential
       and bound by legally enforceable codes of professional responsibility or agreements that require maintenance
       of confidentiality.

                3. General Release. Effective for all purposes as of the closing of the AP A (the "Closing"), the
       undersigned acknowledges and agrees, on behalf of himself or herself and each of the undersigned's agents,
       trustees, beneficiaries, estate, successors and assigns (each, a "Releasor") that:

                         (a)     Releasor represents and warrants that, as of the date hereof, other than as set forth in
       the proviso in Section 3(b ), he or she (together with each other Releasor) has no Claims (as defined below)
       against Tyto, the Company, Otto Trucking LLC, or any of their respective employees, managers, directors,
       members, stockholders, officers, agents, attorneys, representatives, predecessors, successors, assigns or the
       like (collectively, the "Releasees") relating to any contract or other matter between the Releasor and Tyto, or
       any of the Releasor' s interest in Tyto, or in the Releasor' s capacity as a current or former employee, manager
       or security holder ofTyto.

                        (b)      Releasor hereby irrevocably and unconditionally releases the Releasees from any and
       all charges, complaints, claims, liabilities, obligations, promises, agreements, controversies, damages or
       causes of action, suits, rights, demands, costs, losses, debts and expenses (including attorneys' fees and costs




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       incurred) of any nature whatsoever, in law or equity, whether known or unknown, contingent or otherwise,
       which the Releasor now has, may ever have had in the past or may have in the future against any of the
       respective Releasees by reason of any act, omission, transaction, occurrence, conduct, circumstance,
       condition, harm, matter, cause or thing that has occurred or existed at any time from the beginning of time up
       to and including the Closing, including, without limitation, relating to any contract or other matter between
       the Releasor and Tyto, Releasor's employment (either as an employee or consultant, as applicable) with Tyto
       or the Releasor's interest in the equity or assets of Tyto (collectively, "Claims"), provided, however, that the
       foregoing release shall not cover Claims arising from rights of Releasor pursuant to (i) the AP A or any other
       agreement delivered pursuant to the AP A or in connection with the transactions contemplated thereby and/or
       (ii) any bonus incentive agreement between Releasor and Tyto.

                        (c)      Releasor acknowledges that he or she is familiar with Section 1542 of the Civil Code
       of the State of California ("Section 1542"), which provides as follows:

               A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH THE CREDITOR DOES
               NOT KNOW OR SUSPECT TO EXIST IN HIS OR HER FAVOR AT THE TIME OF
               EXECUTING THE RELEASE, WHICH IF KNOWN BY HIM OR HER MUST HAVE
               MATERIALLY AFFECTED HIS OR HER SETTLEMENT WITH THE DEBTOR.

                        (d)      Except for Claims not released pursuant to Section 3(b ), Releasor hereby waives and
       relinquishes any rights and benefits that Releasor may have under Section 1542 or any similar statute or
       common law principle of any jurisdiction. Releasor acknowledges that he or she may hereafter discover facts
       in addition to or different from those that Releasor now knows or believes to be true with respect to the
       subject matter of this release, but it is Releasor's intention, subject to Section 3(a) and Section 3(b ), to fully
       and finally and forever settle and release any and all Claims that do now exist, may exist or heretofore have
       existed with respect to the subject matter of this release. In furtherance of this intention, except for Claims not
       released pursuant to Section 3(b ), the releases contained herein shall be and remain in effect as full and
       complete general releases notwithstanding the discovery or existence of any such additional or different facts.

               4. Termination. To the extent this Agreement is executed prior to the Closing of the AP A, this
       Agreement is conditioned upon the Closing of the AP A and shall become null and void and shall have no
       effect whatsoever, without any action on the part of any person or entity, upon termination of the AP A for any
       reason prior to the Closing.

                5. Miscellaneous. This Agreement may be executed in one or more counterparts, each of which will
       be deemed an original and all of which, when taken together, will constitute one and the same Agreement.
       The internal laws of the State of California, irrespective of its conflicts of law principles, shall govern the
       validity of this Agreement, the construction of its terms and the interpretation and enforcement of the rights
       and duties of the parties hereto. If any provision of this Agreement is determined to be invalid, unlawful, void
       or unenforceable to any extent, such provision or any portion thereof will be interpreted to best reflect the
       parties' intent, and the remainder of this Agreement will not be affected and will continue to be valid and
       enforceable to the fullest extent permitted by law. This Agreement may only be amended, modified and
       supplemented by written agreement of the parties hereto. This Agreement shall be binding upon and inure to
       the benefit of the parties hereto and their respective successors, heirs, personal representatives and assigns to
       the extent permitted under the Agreement.

                                                   [Signature page follows]




CONFIDENTIAL                                                                                                  UBER00319661
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              1N WITNESS WHEREOF, the parties hereto have caused this Release Agreement to be duly
       executed as of the day and year first set forth above.



                                                          Ottomotto LLC
                                                                                 ---✓-
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                                                          By :-~--.?-- - -- - - - - ' - - - - - - - ~
                                                              Narne: Lior Rl)n
                                                              Title: President




CONFIDENTIAL                                                                                                   U BER00319662
           Case 3:17-cv-00939-WHA Document 2690-9 Filed 01/28/19 Page 25 of 31
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                  IN WITNESS WHEREOF, the parties hereto have caused this Release Agreement to be duly executed
       as .o f the day and year first set forth above.




                                                            By:~~g~
                                                            Name: BRENT SCHWARZ




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             3.      Subji.:ct to any rnattern or infhrmution ;;.Hsdosed to Stroz, I (aj ,:vas not solicit~d by
      Newco or Unicorn to 10.=rve Fnm1er Employer or to join Ncwco or Unicorn: (b) have H(li 1olkikd
      ~my other person to kiavo;: Fur.mer En1p!.oy~r or to jnin Ni:r1.-vco or l.Jnk:om; and (c) havi.:, not told 1iay
      pernon or party to solicit anyone to lGave Fonrn:.'.r Employer or J:o join Nrwc{) or l)nicorn,

                 4,      Other than wbal l mav lW.V i:? n~t:sintd in rm· nwmorv in lrK~ <:nurse und j;l;one of rn:v
      cmn!ovnw:nt with Fonw.:!r Emp!ov;;;r, "and subj,~ct sn i:.ny mattcrn or iill{)tmmi.on disdostd 10' t:troz. t:)
      my' b~st krnn.vkdgt~ 1 1\~tumcd' to Former · Ernph.,yrr imd have not retdned Fnnn;;:;r Employer
      4,:;onfidcnthd or proprietary ;:.kH.::mns::rH:$ (ir inforniathm or proptrt_y (inclw.Hng but not limited w
      han:.hvar-.:~ and sofh~iarn) ?tfo~r my employment with former Ernploy(:r,

              5.      1 havt n-cit irrntruc.ted a.nyone to u:K' or db;do:se to nnyone other than Former
      Employi..T (hlduding; mt) ~my form.er Employa ~onfid(>nti.-11 or prnprktary infommtinn (except to
      Stroz as part of hs investigmiont and l am not avvan~of anyone. doing so,

               6.      \\.,ith the cxc;;'ption of qu0stions to ,.vhkh I did not n:.8pond bec8.1.1s0 l was not ~ertain
      the qms.sth.ms were n.:!cnillt, In my lx~i;t kno\-vkidg,\ {a) l have prnvid(:cl good faith, compkte and
      truthful n.~spomt:'5 in aH material respe.;.:ts to Stroz's questions and (b) ii.II of the infrnTnation I have
      rm.l\'ided to Strol, is trne mid con\;;tl in a!l matt rinJ n~;:;p~ds:.




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               .l.    1 have prnvidi:::<l tu Sm.rt ~opica of und.:\,r oOierwbe advil'sed Stroz of any agn:it~rnents
       or other obligation:i to which l mn su~jcd with '·Former Employer" (as defined b the Indernnity
       Constrnct), regarding the rwndhiclosmc of pmprict1i) Hn<l cm,fkkmtial infonnmion, a:s~ignrnent t:if
       inv~mions or imdkctual property, und re.xtrktions on .;xn:npetidc,n or soHcitati(m of employ,~(~/, ~md
       cu:;;tmncrn, induding nny related skfo ugn=.::;::m~:nb, (colkctivcl.y, ''Ag.r,!~mcnts''), and subject to n.ny
       muttern or inhnmation disclo::;i:d to StroL,. l huvc coinplicd with my obligation:-; urnle:r any
      .Agreerrn:nb,

               2.      ! havt:' provid(XI and/or disdoi:1~d {m~ applicnhle-) to Strm:. a.li rn.in-Fornwr Ernploycr
      computers (including hut not limited to any !riptops, dcskiops and tablet:;;;), internal ot ,'.xterm~l
      computer readahk swnigc rnedia (including but not limit:.,d to any hard ,.h.ivrs, fhsh drivcii, zip
      drive1;, thurnh drives, floppy disks or CD-ROM disks)~ mobile phones, doud storage, FTP or sh;;ffG
      sites, (.ff email or socia.l mt:dia account:, or other potential S(H.lrces of ~Fmrn~r Employer- data that I
      have used or had acl.:'.es:'; to <luring ::md dter t":rnploymtnt with Former Empioytir.

               J,      Subject to imy matters Qr infr:inmition disc.los~<l to Stnv., I (a) \Vat1 not soHdtt:d by
      Nn•/!.:O or l.Jnicorn to 11::ave Former Fmployu- or to join \fowco or Unicorn; {b) have not solidttd
      any other pGs~>n w h.;avc Former Employ(~r or to join Ncwto or l)nicorn; filld (c) have nm told any
      p;X5(H1 or party to solk:it anynne to leave Fornrnr Employi:;:.:r or to join Nt'\Vco or Unicorn.


               4.        Other than \Vhnt l may hav<': n:taineJ in n1v rn.:::n~ory in th~ course and scope of mv
      employment with Forrn~r Empk1y1;:i\ 'and subje<'..';tto any m:1ucrn or infonnafam db,dos~d to Stro:t.:, t~J
      my best kno'vvb<lgc I retum(:d t~} h:.irrrn,)r Employer m1d have not ret.1in,d Fonner Ernployer
      <::onfkkntial or proprierHry doc.umenb or information or property finduding but not Hmik:d tn
      ha.n:hvar;,.: and soitwti.r~) after i-ny employnk'.Ht \Vlth Former Employer,

              5,      l h{lv1.:: m:Jt irrntmctt"<l anynnc tu mw or dfadose to ,1nyon0 other than Fonrn,:r
      Employ~r (indudlng nw) any Fnrmcr Einploycr c(mfidcntiuJ m proprietary infommtl . .m (ex.:t::pl ti:,
      Strnz as part of its investigation), and I run nol a\v~1rc of anyone ikfrng so,

               6.       \Vith the excepti.on of questions to \Nnich l did not rnspond became I was not ctrtr:in
      Ow qu(~sfams wern ri..~levant,. to my bl'.st knowk:dgic::, (~) 1 havt, prc\·id0d good faith, i:Omplde and
      truthful rtspomK~s in ull material rn~pe(:ts to Stroz.'·s qu,'.Slions and (.b) ail of tiw infonnatkm i huv;;::
      providc;a;d to Stroz. h;; tnw :md corr.;ct in all nmtnial reic,p~~ct~,
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               1,     i .lMVG prnvkkd to Strn:,,: copk:;; nf' nnd/m othcr,vise advised Stnv Qf ftny agr..'cment.1
      or othrr obligations lo vvhich 1 am sub,l:;::ct \Vith '"F\in-;K~r Employ(:r''' (13$ defirwd b the Ind;.:;,mnhy
      Cnnstrnel),. regarding the uondisdosurc uf proprietary and t<onfidcntfo.! infonnmion~ussignment of
      irrv,;mions or imelkictual property . mid H~sttk:tions on rm:npetith:m or snlicltation of ~mployecs ~H,<l
      customers, incl uding any reh.ted side agrnen:1ents, (rnikdivdy, '\'\gre,~n:w,nti'), :1nd subject to any
      marten:; or information disdo;:;:;;;d W Strnz~ f have i::omplkd with my obligations under any
      Ag.recmenb,

               2.     ! h uVi'} providi d and/nr disdosed (as applic~ble) to Stroz f.Ill mm°Forrner Employer
      (\_nnputen; (including but not lirnhe<l to nny faptops, de-sktops and tabkts). intcrmll or ~xternal
      co:mpuk·r r.eadabk~ storage rm~dia (including but not limitt:d to any lurd drives., fl ush drive,..;, zip
      drh-'et, thmr1b drives, floppy dL,ks ot CD~R(Hvf disks), mobik phones, doud Btornge, FTP or sham
      sites, or ernuH or soda!. nwdia accounts or oth(~r potcnthll so~<fC<;.!S of ~Form,!r Employer- d.1ta that I
      lrnve WK~d or had fi,CCii'.'>S tn during and airer t.mployn1:ent \Vlth Fonner Ernpk,y{3r,

               3.     Subject to any rrn-1tt.:.~rn or infrimmdon di$clos0d to Stroz, I (:i) wrrn not soiidtt~d by
      Ntw<,:50 wr Unicom to leavt1 Fonner Employer or to join Newco or Llnk(1rn; (b) have not snlk:it~d
      imy othu pt.,rson to le.1w ForYrwr Employer or to join Newco or Un.it(Hn; rind (c) havt\ not told any
      ptrnon or p:1rty to ;;;olicit rn1yone to bavr Fm1nt:r Ernpkiyer or to join t,fowco or Unkorn,

                4.     Oth~r than whd l rnuy lu.r<d~ rctain;;:d in my memory in L>i<:: c.:iurs,i and sror..e of :my
      -i.-:rnployment with Fom1s:'.f Exnp!oy<i.;r, and subject to m1y matttrn or information disdost:d to StroL, to
      nw b,,~t knowkdge ! rcturrwd to Former Ernp!oyer md ha.Vt'. not nmifoed Fom.wr Empioyi..'.f
      corifidtmtial or prnpri{~tary docun1-::nts or infix nrntion or prnpcny (including but not limited to
      lmrd w:1re and i,oihvarc_i after my -m.11ptoynrnnt with Forn-wr Emplop.~r.

              5~      l hav;; : not ir1strucled any--iJnc to us,~ or disc!()~~~ hJ anyon,~ other than r:;.1r1r1er
      Ernp!oy(r (including mt'} any Fonner Employer confid~mh1l or proprietary information (.:x,cept to
      Stroz ns purt of its invcst.ig;,:ition), und I am not ~.1wat6 of imyGtK\ doing :iO.

              6.        \Vith the exception of questiorrn to which l did not respond brc;1u,:s~ I wws not c1~rw.in
      the qiwstir,rn;; v,;cre rdtv,:i.nt, to my b~~:~l kno\vk-dgt, (a} I b1ve prnvkkd go0d faith, t~ompk~tf m1d
      truthful nispons~s in al! material rtiifX~r,'.b to Stroz' s qutstions and (b} all of the infonnatkm 1.hav<:
      provid,~d to Strnz is true a.nd c(irrect hi i~H rnateri4}Ji.':Sptz~b .

                                                .,.>:<'>··:;t:::~:: . . ,. .
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                 l,        r h~ve provi..kd       to Strn:.': copi-c~, of ,1nd/or otherwi::,;e udvhed Stroz of any agreements
      or other obligations to \vhich I run su~j~xx with 'Fom1er Employer" (as defined in the lnckirmfrty
                                                                                     0




      (\mstrnct), regw<ling thl':: non<lisclnsure of propritmry and confidential information,, assignment of
      invintlon;-. or intellectual property. and rcstrktiorrn on cnrnpctition or solidmtkm of <:impioye.'.':s and
      custoincrn, including any rdated skk: agreement:'>, (colhx:.tivdy, "Agreements"), and subject. to any
      mmkrn or lnfbrmation <lLsclosd 10 Stroz, I havt: complied with my obligatk11,s u.nder any
      Agn..:ements.

             2.     i hav{: pmvlded and/or disclosc:d (as applicable} to Stroz all m:m~Fonncr Employer
      compukrn (ind uding bul not limited to any laptops, desktops and tabkts), internal or cxtemiil
      cnrnputcr read~bk storage trh~dia (including but not iimit,~d lo any hmd drh'l'.?8, ffosh drlvt;-;, zip
      drives., thu.m.h cl.rives, fl.:ippy disks or C1)-R.OJ'v1 dish), mobik ph~mes, cloud stornge, FTP or sham
      ~ites, or ~rnail or ~,odal rnedia account;;, or other pokritiBJ souxc{m of ~Former Er.iployer- dl'.1.U. that J
      hJve: used cH· had a.cee::,:fi to during and after employment \Vith Former En:;ploycr.

                3.    Su.hJcct to any n1atv:rs or infiirn1<1fion disckJstd to Stroz, ! (,~) ,vas not solkited hy
      Nt'.Wt.o or Unkorn to kaw Former Employer           or to join Nev-/C;) or Unicorn; (b) h;w~ not solicited
      any ofrwr r,K,nKrn to leav;:,.,. Forrnn Employtr or tn join Nev.:co or Ui.1kom; and (c) have not told any
      pcr:wn or p,1rty to solicit anyone to leave Fom'l'~r Frnploy,;::r or W join Newce or Unkxim,

             4,       Oth~'.f than what 1 ruay huv{~ n:tdi.wd in rny memory in tJw cm.m;t": and s;;,: t)fK~ of rny
      employr.rwnt with Fonner Employer. and suh,iect to any matters or infrirn1atkm dbdt,scd to Stwz, to
      my best krn::rvileclg,~ I returned to Fonner Empioyer and have r:m rdnined Forrne:r Empioyer
      confiJ~ntial or prq.i.detwy dovurnems or information or pwpcrty (induding hut nm Hmhed t(l
      hardware tmd sotlware) aHet my ~mploym.:.nt with Form.er Ernp!oy1;;~r.

             5.     I h,.:rvc not instni,,:::tcd "mvon,) to use or disdose to fL'W◊rh'.~ otber tbm Fnrm0r
      Ernployer (induding mt:) ,my Fonner Ei~ploy(:r confidential or prnpricrn;-y ir:tti::innatkm (.:.,xcer,t to
      Stroz m1 part of it5 invt0Hgation); and I run not ~l'<w:m;: ,of imyonti d.Qing so.

              6,      \Vith the exception of questions to which 1 Jld not respond bccau&t:. l w&i rwt C<.~ru.in
      the qw;:stkrns w~:re n:k~vant, tn my b\':;:;t know·lcdgr,, (a) 1 hi.i.v{~ prnvidtd good faith, con1plet,\ n.nd
      truthful rnsponses in .All rnakrial rcsp.::cb to Stroz's qutstions and (b) dl of the information i hm'1,1
      provided to Stroz is true n.nd correct in all rnaterb.! n:specb,



      Signature. of Dili;;c,nced Emplcyc·.·~.:.:..;.•.:. .·.-~',:_❖.' . ~-.:•:. ·i..•: ';..~, • -~ ~Dntc: C"//;r,;,/2:'?%
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                The parties hereto have executed this Agreement as of the date first written above.

       OTTOI\'IOTTO)fC:                                                                    Employee:                        .-..,_.---,/'

        By:           i~~:(~,--:;::?::., ,. . -..-------····-······~-~)-,·•''··'·•······------('.~::::);-:\}·'·····'_::?f~;~:.::\:><. ---
                      i.....-

                  f
                                                                                           Signature

       Nmne:
                                                                                           Name (Please Print)'

       Title:




                          [Signature Page to Employee Invention Assignment and Confidentiality Agreement}




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